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                       EXHIBIT A
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  Christmas Tree Shops -Official Committee of Unsecured Creditors                                118979.0001.2/4813511
  Christmas Tree Shops


                                               ITEMIZED SERVICES BILL
                                              Asset Disposition - General

  Date:      Description:                                         Attorney:                      Hours:      Amount:




05/25/2023   Teleconferences with J. Gansman regarding            Ward, Matthew P.                    0.50   $ 392.50
             sale/plan strategy (.3); teleconference with M.
             Desgrosseilliers regarding same (.2)



06/13/2023   Teleconference with W. Martin and T. Kohl            Ward, Matthew P.                    0.60   $ 471.00
             regarding sale process and strategy (.4);
             teleconference with J. Gansman regarding same
             (.2)



06/13/2023   Emails with Lisa Tancredi regarding trademark        Thomas, Elizabeth C.*               2.70   $ 945.00
             registration (.1); review debtors' schedules and
             compare listed trademarks versus listings of
             trademarks provided to Committee (2.6)



06/22/2023   Calls x2 with Committee professionals regarding      Patterson, Morgan L.                1.40   $ 917.00
             strategy, sale efforts and next steps (1.4)



06/22/2023   Call with Debtors, lender counsel and Committee      Patterson, Morgan L.                0.60   $ 393.00
             professionals regarding status of sale efforts and
             next steps



06/23/2023   Call with Committee Professionals regarding          Patterson, Morgan L.                1.30   $ 851.50
             sale process and strategy (1.0); prepare written
             update for committee members (.3)



06/24/2023   Correspondence with Debtors regarding sale           Patterson, Morgan L.                0.10    $ 65.50
             update call



06/27/2023   Call with SSG and Committee professionals            Patterson, Morgan L.                0.70   $ 458.50
             regarding sale process update (.5); call with
             Matthew Ward regarding same (.2)



06/28/2023   Review bid procedures motion and motion to           Thomas, Elizabeth C.*               0.30   $ 105.00
             shorten notice and update case calendar

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                                                          Total for Asset Disposition - General:      $ 4,599.00




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                                                 TIMEKEEPER SUMMARY
                                                Asset Disposition - General

Attorney:                                                                  Hours:               Amount:        Rate:



Ward, Matthew P.,Partner                                                        1.10            $ 863.50     $ 785.00

Patterson, Morgan L.,Partner                                                    4.10           $ 2,685.50    $ 655.00

Thomas, Elizabeth C.*,Paralegal                                                 3.00           $ 1,050.00    $ 350.00

                               Total for Asset Disposition - General:           8.20           $ 4,599.00




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                                              ITEMIZED SERVICES BILL
                                     Business Operations/Meetings with Debtor

  Date:      Description:                                     Attorney:                     Hours:       Amount:




05/24/2023   Call with Debtors' counsel and representative    Patterson, Morgan L.               1.10    $ 720.50
             and financial advisors (1.1)



05/25/2023   Attend call with CTS (Magie Kauffman, Brian      Tancredi, Lisa B.                  1.20    $ 714.00
             Ayres, P. Donnelley, H. Murphy and R. Pansi)



05/27/2023   Calls (x2) with counsel to the Debtors and       Patterson, Morgan L.               1.40    $ 917.00
             lenders counsel regarding DIP and first days

                                             Total for Business Operations/Meetings with Debtor:        $ 2,351.50




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                                               TIMEKEEPER SUMMARY
                                     Business Operations/Meetings with Debtor

Attorney:                                                               Hours:               Amount:        Rate:



Patterson, Morgan L.,Partner                                                 2.50           $ 1,637.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                 1.20            $ 714.00     $ 595.00

             Total for Business Operations/Meetings with Debtor:             3.70           $ 2,351.50




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  Christmas Tree Shops




                                               ITEMIZED SERVICES BILL
                                                 Claims Administration

  Date:      Description:                                       Attorney:                      Hours:       Amount:




05/31/2023   Correspondence with co-counsel regarding bar       Patterson, Morgan L.                0.10     $ 65.50
             date order



06/01/2023   Review/circulate bar date information to           Patterson, Morgan L.                0.30    $ 196.50
             Committee members



06/13/2023   Call with Lisa Tancredi regarding review of        Patterson, Morgan L.                0.40    $ 262.00
             claims



06/13/2023   Review fee letter regarding pre-petition claims    Patterson, Morgan L.                0.60    $ 393.00
             (.5); correspondence with Lisa Tancredi
             regarding same (.1)



06/19/2023   Research and summarize Bed Bath claims (1.8);      Patterson, Morgan L.                3.00   $ 1,965.00
             review Pathlight claim calculations and
             memorandum regarding same (1.2)



06/20/2023   Legal research regarding funds reserve             Patterson, Morgan L.                4.10   $ 2,685.50



06/21/2023   Call with team regarding claim analysis            Tancredi, Lisa B.                   0.50    $ 297.50



06/21/2023   Prepare for call with committee                    Tancredi, Lisa B.                   0.20    $ 119.00



06/21/2023   Call with Committee regarding claim analysis       Tancredi, Lisa B.                   0.70    $ 416.50
             and strategies



06/22/2023   Teleconference and correspondences with            Ward, Matthew P.                    0.60    $ 471.00
             creditor regarding claim




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06/22/2023   Call with Pathlight and Eclipse regarding        Patterson, Morgan L.                 1.30     $ 851.50
             make-whole claims



06/23/2023   Teleconference with creditor                     Ward, Matthew P.                     0.40     $ 314.00



06/23/2023   Call with Debtors' regarding Bed Bath claims     Patterson, Morgan L.                 1.90   $ 1,244.50
             (.8); review documents regarding same (1.1)



06/29/2023   Review claims-filed docket for Bed, bath and     Thomas, Elizabeth C.*                0.20      $ 70.00
             Beyond (.1); emails with Morgan Patterson
             regarding same (.1)

                                                                    Total for Claims Administration:      $ 9,351.50




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                                               TIMEKEEPER SUMMARY
                                                Claims Administration

Attorney:                                                               Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                     1.00          $ 785.00    $ 785.00

Patterson, Morgan L.,Partner                                                11.70        $ 7,663.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                 1.40          $ 833.00    $ 595.00

Thomas, Elizabeth C.*,Paralegal                                              0.20           $ 70.00    $ 350.00

                                  Total for Claims Administration:          14.30        $ 9,351.50




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                                             ITEMIZED SERVICES BILL
                                                 Claims Objections

  Date:      Description:                                     Attorney:                       Hours:     Amount:




06/20/2023   Draft analysis of Make Whole claims/objections   Tancredi, Lisa B.                 5.70    $ 3,391.50

                                                                      Total for Claims Objections:      $ 3,391.50




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                                               TIMEKEEPER SUMMARY
                                                  Claims Objections

Attorney:                                                             Hours:             Amount:        Rate:



Tancredi, Lisa B.,Of Counsel                                                5.70        $ 3,391.50    $ 595.00

                                     Total for Claims Objections:           5.70        $ 3,391.50




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                                                ITEMIZED SERVICES BILL
                                           Court Hearings/Preparation/Agenda

  Date:      Description:                                         Attorney:                       Hours:     Amount:




05/26/2023   Review agenda and circulate (.3); prepare for        Patterson, Morgan L.              1.20      $ 786.00
             hearing (.6); call with Matthew Ward regarding
             same (.3)



05/26/2023   Review and circulate 5/31 hearing agenda to          Thomas, Elizabeth C.*             0.20       $ 70.00
             co-counsel and committee members



05/28/2023   Revise witness and exhibit list for second day       Patterson, Morgan L.              0.40      $ 262.00
             hearing



05/28/2023   Email to/from M. Patterson regarding filing of       Giobbe, Cynthia M.*               0.20       $ 70.00
             witness and exhibit list for 5.31.23 hearing



05/29/2023   Prepare for contested second day hearing and         Ward, Matthew P.                  1.30    $ 1,020.50
             depositions (.5); review numerous versions of
             witness and exhibit lists and deposition notices
             (.4); numerous correspondences with Porzio
             team and M. Patterson regarding same (.4)



05/29/2023   Review/revise and file witness and exhibit list      Patterson, Morgan L.              1.40      $ 917.00
             (.6); calls with Cindy Giobbe regarding same (.8)



05/29/2023   Email (x10) to/from M. Patterson regarding           Giobbe, Cynthia M.*               2.80      $ 980.00
             witness and exhibit list (.5); revise same (1.1);
             review (x6) emails from W. Martin regarding
             same (.3); further revise witness and exhibit list
             (.7); email to M. Patterson regarding review of
             same (.1); efile same (.1)



05/30/2023   Prepare for second day hearing                       Ward, Matthew P.                  0.60      $ 471.00



05/30/2023   Emails regarding hearing prep (.2); arrange       Thomas, Elizabeth C.*                0.70      $ 245.00
             zoom for committee members and co-counsel
                                                         Page 12
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             (.5)



05/30/2023   Preparation for 5/31/23 hearing (2.5); email to    Giobbe, Cynthia M.*               2.80      $ 980.00
             Committee members regarding zoom link (.1);
             email to Chambers regarding exhibit binder (.1);
             coordinate service of same (.1)



05/31/2023   Prepare for DIP and second day hearing (.9);       Ward, Matthew P.                  6.70    $ 5,259.50
             participate in same (4.3); pre-hearing meeting
             with Porzio team and B. Ayers (1.5)



05/31/2023   Prepare for and attend second day hearing          Patterson, Morgan L.              3.90    $ 2,554.50



05/31/2023   Email (x3) to/from M. Ward regarding 5/31/23       Giobbe, Cynthia M.*               2.50      $ 875.00
             hearing (.1); email (x4) to/from M. Patterson
             regarding same (.2); preparation of hearing
             binders, documents for 5/31/23 hearing (2.0);
             email to/from M. Patterson regarding C. Mazza
             pro hac motion (.1); email same (.1)



06/26/2023   Call with Matthew Ward regarding DIP hearing       Patterson, Morgan L.              0.90      $ 589.50
             preparation (.4); multiple correspondence with
             Court chambers, Debtors' counsel, and
             Committee professionals regarding hearing
             preparation and witnesses (.5)



06/27/2023   Multiple correspondence with Court, Committee      Patterson, Morgan L.              0.40      $ 262.00
             counsel, and Debtors counsel regarding
             supplemental DIP hearing (.2); review agenda
             and prepare for hearing (.2)



06/27/2023   Review and distribute 6/29 hearing agenda          Thomas, Elizabeth C.*             0.10       $ 35.00



06/28/2023   Arrange zoom hearing appearances for               Thomas, Elizabeth C.*             0.30      $ 105.00
             attorneys and committee members (.2); emails to
             parties regarding same (.10)



06/28/2023   Obtain and circulate second day hearing            Thomas, Elizabeth C.*             0.10       $ 35.00
             transcript to Morgan Patterson




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06/29/2023   Attend Court hearing on supplemental DIP order   Ward, Matthew P.               1.40    $ 1,099.00
             (1.0); teleconference and correspondences with
             M. Patterson regarding same (.4)



06/29/2023   Prepare for and attend hearing on supplemental   Patterson, Morgan L.           3.10    $ 2,030.50
             DIP order

                                                   Total for Court Hearings/Preparation/Agenda:     $ 18,646.50




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                                               TIMEKEEPER SUMMARY
                                         Court Hearings/Preparation/Agenda

Attorney:                                                             Hours:             Amount:        Rate:



Ward, Matthew P.,Partner                                                   10.00        $ 7,850.00    $ 785.00

Patterson, Morgan L.,Partner                                               11.30        $ 7,401.50    $ 655.00

Thomas, Elizabeth C.*,Paralegal                                              1.40         $ 490.00    $ 350.00

Giobbe, Cynthia M.*,Paralegal                                                8.30       $ 2,905.00    $ 350.00

                    Total for Court Hearings/Preparation/Agenda:           31.00       $ 18,646.50




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                                                ITEMIZED SERVICES BILL
                                      Creditors Committee Meeting/Conferences

  Date:      Description:                                          Attorney:                      Hours:     Amount:




05/22/2023   Teleconference and correspondences with               Ward, Matthew P.                 1.20      $ 942.00
             Porzio team (.7); numerous correspondences
             with Rock Creek team (.4); correspondences
             with B. Hackman (.1)



05/22/2023   Attend call with committee members                    Johnson, Ericka F.               0.30      $ 214.50



05/22/2023   Call with Committee professionals regarding           Patterson, Morgan L.             0.80      $ 524.00
             next steps and strategy



05/24/2023   Professionals call (.5); creditors' committee         Ward, Matthew P.                 1.70    $ 1,334.50
             meeting (1.2)



05/24/2023   Review multiple emails regarding allocation of        Johnson, Ericka F.               0.10       $ 71.50
             first day review and committee meeting agenda
             and respond to same



05/24/2023   Attend Committee professional call (.5); attend       Patterson, Morgan L.             2.30    $ 1,506.50
             Committee meeting (1.4); call with Lisa Tancredi
             regarding preparation of objections (.4)



05/27/2023   Prepare draft update correspondence to                Ward, Matthew P.                 0.20      $ 157.00
             committee



05/27/2023   Revise correspondence to Committee regarding          Patterson, Morgan L.             0.40      $ 262.00
             status of negotiations



05/31/2023   Numerous correspondences with committee               Ward, Matthew P.                 0.40      $ 314.00
             members regarding proposed resolution of first
             day motions




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06/01/2023   Review/revise Committee bylaws and circulate       Patterson, Morgan L.           0.40      $ 262.00



06/01/2023   Prepare task list and status for Committee         Patterson, Morgan L.           0.30      $ 196.50
             professionals meeting



06/05/2023   Email to working group regarding 341 meeting       Thomas, Elizabeth C.*          0.10       $ 35.00
             prep



06/06/2023   Teleconference with W. Martin and T. Kohl at       Ward, Matthew P.               0.40      $ 314.00
             SSG in preparation for telephonic committee
             meeting



06/06/2023   Attend 341 meeting (1.1); call with Brian Ayers    Patterson, Morgan L.           2.10    $ 1,375.50
             regarding same (.3); review/revise/circulate
             summary of 341 meeting (.7)



06/07/2023   Prepare for and attend committee telephonic        Ward, Matthew P.               0.90      $ 706.50
             meeting



06/07/2023   Call with Committee professionals regarding        Patterson, Morgan L.           1.30      $ 851.50
             Committee update (.5); attend telephonic
             committee meeting (.8)



06/08/2023   Revise and circulate bylaws (.4); multiple         Patterson, Morgan L.           0.60      $ 393.00
             correspondence with Committee members
             regarding same (.2)



06/12/2023   Video meeting with Porzio and Rock Creek           Ward, Matthew P.               0.60      $ 471.00
             teams regarding outstanding tasks and
             preparation for telephonic committee meeting



06/12/2023   Call with Committee professionals regarding        Patterson, Morgan L.           1.10      $ 720.50
             strategy and next steps



06/13/2023   Review Committee meeting agenda and revise         Patterson, Morgan L.           0.60      $ 393.00
             (.2); prepare for Committee meeting (.4)



06/14/2023   Prepare for and attend Committee call              Patterson, Morgan L.           1.30      $ 851.50

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06/14/2023   Prepare for call with committee                     Tancredi, Lisa B.               0.90      $ 535.50



06/14/2023   Attend committee call                               Tancredi, Lisa B.               1.10      $ 654.50



06/19/2023   Call with Porzio team regarding case strategy       Patterson, Morgan L.            1.30      $ 851.50
             and next steps (1.1); call with Lisa Tancredi
             regarding same (.2)



06/21/2023   Pre-meeting video meeting with Porzio team          Ward, Matthew P.                0.50      $ 392.50



06/21/2023   Prepare for and attend Committee professionals      Patterson, Morgan L.            2.50    $ 1,637.50
             call regarding strategy (1.6); attend Committee
             meeting (.9)



06/28/2023   Prepare for and participate in video meeting with   Ward, Matthew P.                0.50      $ 392.50
             committee



06/28/2023   Review/revise meeting agenda (.2); multiple         Patterson, Morgan L.            1.40      $ 917.00
             correspondence with Committee Professionals
             regarding meeting preparation (.2); prepare for
             and attend Committee meeting (1.0)



06/30/2023   Call with Committee professionals regarding         Patterson, Morgan L.            1.10      $ 720.50
             strategy and next steps (.6); prepare summary
             update for Committee (.3); review committee
             update and revise (.2)

                                               Total for Creditors Committee Meeting/Conferences:       $ 17,997.50




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                                               TIMEKEEPER SUMMARY
                                      Creditors Committee Meeting/Conferences

Attorney:                                                             Hours:             Amount:        Rate:



Ward, Matthew P.,Partner                                                    6.40        $ 5,024.00    $ 785.00

Johnson, Ericka F.,Partner                                                  0.40          $ 286.00    $ 715.00

Patterson, Morgan L.,Partner                                               17.50       $ 11,462.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                2.00        $ 1,190.00    $ 595.00

Thomas, Elizabeth C.*,Paralegal                                             0.10           $ 35.00    $ 350.00

              Total for Creditors Committee Meeting/Conferences:           26.40       $ 17,997.50




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                                             ITEMIZED SERVICES BILL
                                               Disclosure Statement

  Date:      Description:                                      Attorney:                       Hours:     Amount:




06/01/2023   Review/analyze draft disclosure statement         Ward, Matthew P.                  0.40      $ 314.00



06/01/2023   Review draft plan                                 Tancredi, Lisa B.                 0.30      $ 178.50



06/06/2023   Address matters regarding plan and disclosure     Ward, Matthew P.                  0.40      $ 314.00
             statement and motion to expedite

                                                                    Total for Disclosure Statement:        $ 806.50




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                                               TIMEKEEPER SUMMARY
                                                Disclosure Statement

Attorney:                                                              Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                    0.80          $ 628.00    $ 785.00

Tancredi, Lisa B.,Of Counsel                                                0.30          $ 178.50    $ 595.00

                                  Total for Disclosure Statement:           1.10          $ 806.50




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                                                ITEMIZED SERVICES BILL
                                                          Discovery

  Date:      Description:                                          Attorney:                       Hours:     Amount:




05/28/2023   Multiple correspondence with co-counsel and           Patterson, Morgan L.              0.40      $ 262.00
             Matthew Ward regarding depositions



05/29/2023   Prepare for depositions on DIP (.5);                  Patterson, Morgan L.              1.30      $ 851.50
             review/revise deposition notices and prepare for
             filing (.8)



05/29/2023   Email (x9) to/from M. Patterson regarding notice      Giobbe, Cynthia M.*               6.30    $ 2,205.00
             of depositions (x2) of M. Salkovitz and Restore
             (.5); prepare notice of depositions and certificate
             of service regarding same (4.0); coordinate
             deposition logistics (1.8);



05/30/2023   Prepare for depositions on DIP and first day          Patterson, Morgan L.              1.30      $ 851.50
             motions (1.3)



05/30/2023   Coordinate deposition of Restore and M.               Giobbe, Cynthia M.*               4.50    $ 1,575.00
             Salkovitz (2.5); email to Reliable (.1); email to
             Veritext (.1); email (x10) to/from H Sasso (.7);
             email to TSG (.1); email (x11) to/from M.
             Patterson (.8); efile deposition notices (.1);
             coordinate service of same (.1)



06/05/2023   Email (x5) to/from L. Tancredi regarding              Giobbe, Cynthia M.*               1.20      $ 420.00
             discovery documents (.2); review and download
             same to system (1.0)



06/06/2023   Email to R. Parisi regarding document                 Giobbe, Cynthia M.*               0.20       $ 70.00
             production



06/21/2023   Email (x3) to/from M. Patterson regarding             Giobbe, Cynthia M.*               1.10      $ 385.00
             discovery binder (.2); prepare binder (x2) (.9)

                                                                                   Total for Discovery:      $ 6,620.00

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                                               TIMEKEEPER SUMMARY
                                                      Discovery

Attorney:                                                             Hours:             Amount:        Rate:



Patterson, Morgan L.,Partner                                                3.00        $ 1,965.00    $ 655.00

Giobbe, Cynthia M.*,Paralegal                                              13.30        $ 4,655.00    $ 350.00

                                              Total for Discovery:         16.30        $ 6,620.00




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  Christmas Tree Shops




                                              ITEMIZED SERVICES BILL
                                          Documentations/Plan Negotiation

  Date:      Description:                                        Attorney:                     Hours:     Amount:




06/01/2023   Review/analyze draft plan of reorganization         Ward, Matthew P.                0.50      $ 392.50



06/05/2023   Correspondences with J. Gansman regarding           Ward, Matthew P.                0.20      $ 157.00
             draft chapter 11 plan and budget to actuals



06/05/2023   Review/revise draft solicitation procedures         Patterson, Morgan L.            3.60    $ 2,358.00
             motion and exhibits



06/06/2023   Review/circulate committee comments to              Patterson, Morgan L.            0.50      $ 327.50
             solicitation procedures motion



06/07/2023   Review draft Plan from Debtors (2.6); review        Patterson, Morgan L.            3.20    $ 2,096.00
             revised solicitation procedures motion (.4);
             multiple correspondence with Debtors' counsel
             and Committee professionals regarding motion
             to shorten solicitation procedures (.2)



06/08/2023   Review motion to shorten regarding solicitation     Patterson, Morgan L.            0.30      $ 196.50
             procedures (.2); correspondence with Debtors
             counsel regarding same (.1)



06/12/2023   Review Plan and prepare issues/objections           Patterson, Morgan L.            1.70    $ 1,113.50



06/13/2023   Review Plan/DS regarding Committee objections       Patterson, Morgan L.            1.10      $ 720.50



06/14/2023   Call with W. Martin, R. Parisi, M. Ward, C. Mazza   Tancredi, Lisa B.               0.50      $ 297.50
             regarding make -whole issues



06/14/2023   Review solicitation procedures/Plan for             Patterson, Morgan L.            2.10    $ 1,375.50
             objections


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06/19/2023   Review Plan/DS and prepare issues list           Patterson, Morgan L.            0.90      $ 589.50



06/23/2023   Prepare responses related to                     Patterson, Morgan L.            1.90    $ 1,244.50
             solicitation/plan/DS regarding



06/26/2023   Multiple correspondence with Debtors regarding   Patterson, Morgan L.            0.20      $ 131.00
             status of DS/Plan deadlines

                                                      Total for Documentations/Plan Negotiation:     $ 10,999.50




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                                               TIMEKEEPER SUMMARY
                                          Documentations/Plan Negotiation

Attorney:                                                             Hours:             Amount:        Rate:



Ward, Matthew P.,Partner                                                     0.70         $ 549.50    $ 785.00

Patterson, Morgan L.,Partner                                                15.50      $ 10,152.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                 0.50         $ 297.50    $ 595.00

                       Total for Documentations/Plan Negotiation:           16.70      $ 10,999.50




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                                             ITEMIZED SERVICES BILL
                                      Executory Contracts/Lease Agreements

  Date:      Description:                                     Attorney:                    Hours:     Amount:




06/19/2023   Review lease extension and rejection motions     Patterson, Morgan L.           1.20      $ 786.00
             (1.1); circulate to Committee (.1)

                                               Total for Executory Contracts/Lease Agreements:         $ 786.00




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                                               TIMEKEEPER SUMMARY
                                       Executory Contracts/Lease Agreements

Attorney:                                                             Hours:             Amount:        Rate:



Patterson, Morgan L.,Partner                                                1.20          $ 786.00    $ 655.00

                Total for Executory Contracts/Lease Agreements:             1.20          $ 786.00




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                                              ITEMIZED SERVICES BILL
                                           Fee Application/Monthly Billing

  Date:      Description:                                     Attorney:                      Hours:      Amount:




05/25/2023   Review interim comp procedures motion (.2);      Thomas, Elizabeth C.*             0.30      $ 105.00
             emails with Morgan Patterson regarding same
             (.1)



06/12/2023   Work with Liz Thomas regarding fee application   Patterson, Morgan L.              0.30      $ 196.50
             status



06/12/2023   Emails with Morgan Patterson regarding monthly   Thomas, Elizabeth C.*             0.10       $ 35.00
             fee applications



06/19/2023   Draft WBD first monthly fee application          Thomas, Elizabeth C.*             0.80      $ 280.00

                                                        Total for Fee Application/Monthly Billing:        $ 616.50




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                                               TIMEKEEPER SUMMARY
                                            Fee Application/Monthly Billing

Attorney:                                                              Hours:             Amount:        Rate:



Patterson, Morgan L.,Partner                                                  0.30         $ 196.50    $ 655.00

Thomas, Elizabeth C.*,Paralegal                                               1.20         $ 420.00    $ 350.00

                         Total for Fee Application/Monthly Billing:           1.50         $ 616.50




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                                             ITEMIZED SERVICES BILL
                                                   Fees of Others

  Date:      Description:                                      Attorney:                       Hours:      Amount:




06/15/2023   Review and respond to lender fee invoices         Ward, Matthew P.                   0.20      $ 157.00

                                                                           Total for Fees of Others:        $ 157.00




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                                               TIMEKEEPER SUMMARY
                                                    Fees of Others

Attorney:                                                             Hours:             Amount:        Rate:



Ward, Matthew P.,Partner                                                    0.20          $ 157.00    $ 785.00

                                         Total for Fees of Others:          0.20          $ 157.00




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                                               ITEMIZED SERVICES BILL
                                                   First Day Pleadings

  Date:      Description:                                        Attorney:                      Hours:     Amount:




05/22/2023   Review first day motions regarding Committee        Patterson, Morgan L.             1.70    $ 1,113.50
             comments/objections



05/22/2023   Call with W. Martin, R. Parisi, R. Schechter, M.    Tancredi, Lisa B.                0.50      $ 297.50
             Ward, E. Johnson and M. Patterson regarding
             second day hearing



05/23/2023   Prepare information requests regarding store        Ward, Matthew P.                 0.30      $ 235.50
             closing motion and consignment motion



05/23/2023   Attend conference call with Debtors' counsel to     Johnson, Ericka F.               0.70      $ 500.50
             discuss first day motions and milestones (.5);
             draft email summary of call from Womble team
             (.2)



05/23/2023   Call with Lisa Tancredi regarding review of first   Patterson, Morgan L.             0.30      $ 196.50
             day motions



05/23/2023   Review first day orders (.6); draft document        Tancredi, Lisa B.                6.00    $ 3,570.00
             requests for pre-petition and DIP documents (.6);
             revise Notice of Appearance (.2); review store
             closing motion (2.5); email to E. Meltzer
             regarding lien review (.2); redline Order to
             Assume Store Closing agreement and Order for
             Ordinary Course Professionals (1.5); draft issue
             list for Store Closing Order, Ordinary Course of
             Professionals Order and Rejection Order (.4)



05/24/2023   Review consignment motion and prepare               Patterson, Morgan L.             1.80    $ 1,179.00
             objection (.7); review and circulate marked order
             and comments to first day motions (1.1)



05/24/2023   Call with Committee members regarding first day     Tancredi, Lisa B.                4.10    $ 2,439.50
             motions (.3); call with Committee professionals
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             regarding first day motions (1.3); call with R.
             Parisi regarding first day motion issues (.2); call
             with M. Patterson regarding first day motion
             issues (.1); review first day motion to honor
             customer programs (1.1); review first day orders
             (1.1)



05/25/2023   Review/analyze store closing motion,                  Ward, Matthew P.                  0.50      $ 392.50
             consignment motion, and proposed orders



05/25/2023   Review/analyze numerous first day motions and         Ward, Matthew P.                  1.30    $ 1,020.50
             proposed orders (.9); review markups,
             comments, and proposals on same (.4)



05/25/2023   Review First Day Order (store closing)                Tancredi, Lisa B.                 1.10      $ 654.50



05/25/2023   Review and summarize issues and mark                  Patterson, Morgan L.              5.60    $ 3,668.00
             proposed orders regarding first day pleadings
             (3.7); legal research regarding GOB and
             consignment motions (1.9)



05/26/2023   Video meeting with Porzio team (.9); develop          Ward, Matthew P.                  2.60    $ 2,041.00
             strategy regarding store closing and
             consignment motions (.4); teleconference and
             correspondences with M. Patterson regarding
             same (.4); review draft store closing and
             consignment issues list (.2); teleconference and
             correspondences with J. Gansman regarding
             DIP and first day motion discussion (.5); review
             draft first day motion issues list (.2)



05/26/2023   Call with Committee professionals regarding           Patterson, Morgan L.              7.10    $ 4,650.50
             objection to first days (1.1); review consignment
             motion and prepare issues list (2.7); prepare
             issues list for GOB and consignment to circulate
             to Debtors and lenders (.9); legal research
             regarding consignment motion objection (2.4)



05/26/2023   Review draft DIP objection (.3); draft issues list    Tancredi, Lisa B.                 5.50    $ 3,272.50
             for store closing motion (2.4); draft objection to
             store closing motion (2.8)



05/26/2023   Email (x6) to/from M. Patterson regarding             Giobbe, Cynthia M.*               2.70      $ 945.00

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             objection to consignment motion (.3); prepare
             draft of same (.6); research regarding
             consignment objections (.8); email to/from L.
             Tancredi regarding discovery requests (.1);
             coordinate same to system (.6); email (x3)
             to/from M. Patterson regarding exhibit list



05/27/2023   Research regarding consignment and store             Ward, Matthew P.                1.50    $ 1,177.50
             closing motions, agreements, terms, and
             proposed orders (.9); correspondences with
             Porzio team and J. Gansman regarding same
             (.3); research regarding consigned inventory (.3)



05/27/2023   Prepare for call with DIP lender regarding DIP       Tancredi, Lisa B.               8.80    $ 5,236.00
             and story closing (1.3); call with DIP lender
             regarding store closing and DIP motions (1.2);
             review consignment issues (1.5); draft objection
             to Store Closing Motion (4.8)



05/28/2023   Revise draft omnibus objection to consignment        Ward, Matthew P.                0.40      $ 314.00
             and store closing motions



05/28/2023   Draft omnibus objection to store closing and         Patterson, Morgan L.            3.60    $ 2,358.00
             consignment motions (3.3); call with Lisa
             Tancredi regarding same (.3)



05/28/2023   Revise objection to store closing motion (1.5);      Tancredi, Lisa B.               6.60    $ 3,927.00
             research regarding consignment issue for
             first-day hearing (4.8); review schedules and
             statements as related to store closing motions
             (.3)



05/29/2023   Further revise draft omnibus objection to store      Ward, Matthew P.                1.00      $ 785.00
             closing and consignment motion (.4); numerous
             correspondences with Porzio team regarding
             same (.3); review/analyze exhibits in support of
             same (.3)



05/29/2023   Review and address comments on numerous              Ward, Matthew P.                0.80      $ 628.00
             first day motions



05/29/2023   Call with Debtors counsel and co-counsel             Patterson, Morgan L.            5.10    $ 3,340.50
             regarding comments to first day orders (.9);

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             revise and circulate objection to store closing
             and consignment motions (2.1); calls (4x) with
             co-counsel and Lisa Tancredi regarding first day
             motions (.9); review comments/responses from
             Debtors on first day orders and prepare
             responses (1.2)



05/29/2023   Review Debtor modifications to case                    Tancredi, Lisa B.                 1.30      $ 773.50
             management and customer programs orders



05/29/2023   Call with committee professionals regarding            Tancredi, Lisa B.                 2.20    $ 1,309.00
             store closing objections (1.3); call with C. Corder,
             L. O'Farrell and R. Parisi regarding first day
             motions (.6); call with L. Parisi and M. Patterson
             regarding first day motions (.3)



05/30/2023   Review/analyze consignment motion,                     Ward, Matthew P.                  0.90      $ 706.50
             agreement, proposed order, and related
             documentation (.4); review consignment/UCC
             analysis (.3); teleconference with L. Tancredi
             regarding same (.2)



05/30/2023   Review consignment notices from ReStore in             Tancredi, Lisa B.                 1.10      $ 654.50
             preparation for hearing on first day motions (.6);
             draft questions for deposition of ReStore (.3);
             discuss consignment issue with M. Ward C.
             Mazza and M. Warren (.2)



05/30/2023   Review/revise/file objection to consignment and        Patterson, Morgan L.              7.40    $ 4,847.00
             store closing motion (1.4); review and approve
             first day motion final orders regarding committee
             comments (1.2); prepare for contested hearing
             (4.8)



05/30/2023   Email (x5) to/from M. Patterson regarding              Giobbe, Cynthia M.*               1.50      $ 525.00
             consignment/store closing objection (.3); prepare
             exhibit regarding same (.2); revise certificate of
             service (.3); review motion/revise same (.5); efile
             same (.1); coordinate service of same (.1)



05/31/2023   Teleconferences and correspondences with M.            Ward, Matthew P.                  0.40      $ 314.00
             Patterson regarding proposed consignment
             order and agreement


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05/31/2023   Review deposition transcripts regarding first-day   Tancredi, Lisa B.                 0.60      $ 357.00
             motions



05/31/2023   Review/revise consignment and case closing          Patterson, Morgan L.              0.40      $ 262.00
             orders

                                                                       Total for First Day Pleadings:     $ 53,691.00




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                                               TIMEKEEPER SUMMARY
                                                 First Day Pleadings

Attorney:                                                              Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                    9.70        $ 7,614.50    $ 785.00

Johnson, Ericka F.,Partner                                                  0.70          $ 500.50    $ 715.00

Patterson, Morgan L.,Partner                                               33.00       $ 21,615.00    $ 655.00

Tancredi, Lisa B.,Of Counsel                                               37.80       $ 22,491.00    $ 595.00

Giobbe, Cynthia M.*,Paralegal                                               4.20        $ 1,470.00    $ 350.00

                                    Total for First Day Pleadings:         85.40       $ 53,691.00




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                                                ITEMIZED SERVICES BILL
                                               General Case Administration

  Date:      Description:                                          Attorney:                       Hours:     Amount:




05/22/2023   Address notice of appearance preparation              Patterson, Morgan L.              0.30      $ 196.50



05/23/2023   Review/file notice of appearance and pro hacs         Patterson, Morgan L.              0.50      $ 327.50
             (.3); work with Committee professionals
             regarding allocation of tasks (.2)



05/23/2023   Emails regarding case representation (.1);            Thomas, Elizabeth C.*             2.60      $ 910.00
             review case docket and pleadings and maintain
             case calendar (1.0); prepare notice of
             appearance (.2); review and finalize pro hac vice
             motions and coordinate payment of pro hac vice
             fee (.3); review, revise and update service list
             (.4); finalize, efile and serve notice of
             appearance (.3); finalize and efile pro hac vice
             motions and upload orders for approval (.3)



05/24/2023   Prepare and efile certificate of service regarding    Thomas, Elizabeth C.*             0.30      $ 105.00
             notice of appearance (.1); obtain and circulate
             recently filed pleadings to working group (.2)



05/25/2023   Obtain and circulate recently filed pleadings         Thomas, Elizabeth C.*             0.20       $ 70.00



05/26/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.30      $ 105.00
             review pleadings and update case calendar (.1);
             prepare core service list (.1)



05/30/2023   Update case calendar                                  Thomas, Elizabeth C.*             0.10       $ 35.00



05/31/2023   Obtain and circulate recently filed pleadings (.2);   Thomas, Elizabeth C.*             0.30      $ 105.00
             update case calendar (.1)



06/01/2023   Prepare critical dates calendar (.2); review first    Giobbe, Cynthia M.*               1.60      $ 560.00

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             and second day pleadings (1.4)



06/01/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.20       $ 70.00
             review pleadings and update case calendar (.1)



06/02/2023   Call with Committee professionals regarding           Tancredi, Lisa B.                 0.70      $ 416.50
             case administration



06/02/2023   Review second day motions (.5); calendar              Giobbe, Cynthia M.*               1.40      $ 490.00
             deadlines (.3); prepare critical dates calendar
             (.6)



06/02/2023   Review case docket and update case calendar           Thomas, Elizabeth C.*             0.60      $ 210.00
             (.2); obtain and circulate recently filed pleadings
             (.1); update 2002 list (.3)



06/05/2023   Call with Committee professionals regarding           Tancredi, Lisa B.                 0.70      $ 416.50
             case administration



06/05/2023   Multiple correspondence with client and               Patterson, Morgan L.              0.30      $ 196.50
             co-counsel regarding committee bylaws and 341
             meeting



06/05/2023   Obtain and circulate recently filed pleadings         Thomas, Elizabeth C.*             0.20       $ 70.00



06/06/2023   Update 2002 list (.1); update case calendar (.1);     Thomas, Elizabeth C.*             0.30      $ 105.00
             obtain and circulate recently filed pleadings (.1)



06/08/2023   Obtain and circulate recently filed pleadings (.1)    Thomas, Elizabeth C.*             0.30      $ 105.00
             update case calendar (.1); update 2002 list (.1)



06/08/2023   Emails regarding response deadlines                   Thomas, Elizabeth C.*             0.10       $ 35.00



06/09/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.20       $ 70.00
             update 2002 service list (.1)



06/12/2023   Revise weekly critical dates calendar                 Giobbe, Cynthia M.*               0.60      $ 210.00

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06/12/2023   Review case docket and pleadings and update           Thomas, Elizabeth C.*             0.80      $ 280.00
             case calendar (.4); obtain and circulate recently
             filed pleadings (.2)



06/13/2023   Email to/from N. Gibson regarding 2002 service        Giobbe, Cynthia M.*               0.20       $ 70.00
             list



06/13/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.30      $ 105.00
             update case calendar (.1); update 2002 service
             list (.1)



06/15/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.20       $ 70.00
             update case calendar (.1)



06/21/2023   Update 2002 service list                              Thomas, Elizabeth C.*             0.10       $ 35.00



06/26/2023   Obtain and circulate recently filed pleadings (.1);   Thomas, Elizabeth C.*             0.30      $ 105.00
             review pleadings and docket and update case
             calendar (.2)



06/27/2023   Obtain and circulate recently filed pleadings (.2);   Thomas, Elizabeth C.*             0.60      $ 210.00
             review pleadings and update case calendar (.4)



06/28/2023   Obtain and circulate recently filed pleadings (.2);   Thomas, Elizabeth C.*             0.30      $ 105.00
             update case calendar (.1)



06/29/2023   Obtain and circulate recently filed pleadings         Thomas, Elizabeth C.*             0.20       $ 70.00



06/30/2023   Obtain and circulate recently filed pleadings (.2);   Thomas, Elizabeth C.*             0.40      $ 140.00
             update case calendar (.1); update 2002 service
             list (.1)

                                                                 Total for General Case Administration:      $ 5,998.50




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                                                  TIMEKEEPER SUMMARY
                                                General Case Administration

Attorney:                                                               Hours:             Amount:        Rate:



Patterson, Morgan L.,Partner                                                   1.10         $ 720.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                   1.40         $ 833.00    $ 595.00

Thomas, Elizabeth C.*,Paralegal                                                8.90       $ 3,115.00    $ 350.00

Giobbe, Cynthia M.*,Paralegal                                                  3.80       $ 1,330.00    $ 350.00

                               Total for General Case Administration:         15.20       $ 5,998.50




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                                              ITEMIZED SERVICES BILL
                                                Investigation of Claims

  Date:      Description:                                      Attorney:                        Hours:      Amount:




06/07/2023   Email to/from M. Patterson regarding claims       Giobbe, Cynthia M.*                 0.40      $ 140.00
             details (.1); review schedules and statements
             regarding same (.3)



06/19/2023   Review claim analysis regarding Pathlight         Tancredi, Lisa B.                   1.40      $ 833.00



06/19/2023   Call with committee professionals regarding       Tancredi, Lisa B.                   1.00      $ 595.00
             claim analysis



06/19/2023   Analyze Pathlight claim                           Tancredi, Lisa B.                   2.40    $ 1,428.00

                                                                   Total for Investigation of Claims:      $ 2,996.00




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                                               TIMEKEEPER SUMMARY
                                                Investigation of Claims

Attorney:                                                                 Hours:            Amount:        Rate:



Tancredi, Lisa B.,Of Counsel                                                   4.80        $ 2,856.00    $ 595.00

Giobbe, Cynthia M.*,Paralegal                                                  0.40          $ 140.00    $ 350.00

                                 Total for Investigation of Claims:            5.20        $ 2,996.00




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                                                ITEMIZED SERVICES BILL
                                                       Lien Analysis

  Date:      Description:                                         Attorney:                      Hours:     Amount:




05/23/2023   Discuss lien investigation and document              Johnson, Ericka F.               0.20      $ 143.00
             requests with L. Tancredi (.1); review email
             document request for same (.1)



05/23/2023   Assist Lisa Tancredi with lien investigation         Patterson, Morgan L.             0.20      $ 131.00
             document request



05/25/2023   Address lien investigation document requests         Patterson, Morgan L.             0.50      $ 327.50
             (.5)



06/02/2023   Multiple correspondence with Lisa Tancredi           Patterson, Morgan L.             0.30      $ 196.50
             regarding lien review document requests



06/07/2023   Review loan documents                                Tancredi, Lisa B.                2.20    $ 1,309.00



06/09/2023   Conduct review of Pathight & Eclipse liens           Tancredi, Lisa B.                6.20    $ 3,689.00



06/12/2023   Review lien issues (3.0); call with Committee        Tancredi, Lisa B.                4.10    $ 2,439.50
             Professionals regarding lien analysis (.9); call
             with M. Patterson regarding make-whole
             analysis (.2)



06/13/2023   Email instructions for E. Thomas to conduct          Tancredi, Lisa B.                3.10    $ 1,844.50
             review of Trademark liens (.2); review
             make-whole issues (2.9)



06/13/2023   Call with Lisa Tancredi regarding lien analysis      Patterson, Morgan L.             0.50      $ 327.50
             (.2); correspondence with Matthew Ward
             regarding same (.1); multiple correspondence
             with Lenders counsel and Lisa Tancredi
             regarding same (.2)


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06/19/2023   Revise lien review memo                              Tancredi, Lisa B.                  3.40    $ 2,023.00



06/20/2023   Review/revise lien analysis memo                     Patterson, Morgan L.               1.30      $ 851.50



06/21/2023   Email to W. Martin regarding Eclipse claim           Tancredi, Lisa B.                  0.20      $ 119.00



06/28/2023   Call with Warren Martin regarding cash UCC           Tancredi, Lisa B.                  0.30      $ 178.50
             issue (.2); call with Rachel Parisi regarding cash
             UCC issue (.1)

                                                                               Total for Lien Analysis:     $ 13,579.50




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                                               TIMEKEEPER SUMMARY
                                                    Lien Analysis

Attorney:                                                             Hours:             Amount:        Rate:



Johnson, Ericka F.,Partner                                                  0.20          $ 143.00    $ 715.00

Patterson, Morgan L.,Partner                                                2.80        $ 1,834.00    $ 655.00

Tancredi, Lisa B.,Of Counsel                                               19.50       $ 11,602.50    $ 595.00

                                          Total for Lien Analysis:         22.50       $ 13,579.50




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                                                 ITEMIZED SERVICES BILL
                                                           Litigation

  Date:      Description:                                           Attorney:                           Hours:      Amount:




06/02/2023   Draft email to counsel for Debtor regarding            Tancredi, Lisa B.                      0.30      $ 178.50
             suggestions of bankruptcy



06/05/2023   Draft email to counsel for debtor regarding            Tancredi, Lisa B.                      0.30      $ 178.50
             suggestions of bankruptcy



06/05/2023   Telephone call with L. Tancredi regarding              Giobbe, Cynthia M.*                    0.50      $ 175.00
             litigation matters (.1); review litigation matters
             (.4)



06/07/2023   Organize discovery (closing binder)                    Thomas, Elizabeth C.*                  0.20       $ 70.00



06/09/2023   Organize discovery received from debtors               Thomas, Elizabeth C.*                  0.60      $ 210.00



06/14/2023   Teleconference with Porzio team regarding              Ward, Matthew P.                       0.50      $ 392.50
             makewhole analysis



06/19/2023   Video meeting with Porzio team regarding               Ward, Matthew P.                       1.40    $ 1,099.00
             potential litigation claims (.7); research regarding
             same (.5); teleconference with J. Gansman
             regarding same (.2)



06/19/2023   Prepare motion for standing to avoid liens             Patterson, Morgan L.                   0.50      $ 327.50



06/21/2023   Research regarding Pathlight and potential             Ward, Matthew P.                       0.40      $ 314.00
             claims



06/28/2023   Draft witness/exhibit list for 6/29 hearing            Thomas, Elizabeth C.*                  0.10       $ 35.00

                                                                                        Total for Litigation:      $ 2,980.00


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                                               TIMEKEEPER SUMMARY
                                                       Litigation

Attorney:                                                             Hours:             Amount:        Rate:



Ward, Matthew P.,Partner                                                    2.30        $ 1,805.50    $ 785.00

Patterson, Morgan L.,Partner                                                0.50          $ 327.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                0.60          $ 357.00    $ 595.00

Thomas, Elizabeth C.*,Paralegal                                             0.90          $ 315.00    $ 350.00

Giobbe, Cynthia M.*,Paralegal                                               0.50          $ 175.00    $ 350.00

                                              Total for Litigation:         4.80        $ 2,980.00




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  Christmas Tree Shops




                                             ITEMIZED SERVICES BILL
                                               Plan of Reorganization

  Date:      Description:                                     Attorney:                          Hours:     Amount:




06/07/2023   Review ECF filed plan documents (.2); review     Giobbe, Cynthia M.*                  0.30      $ 105.00
             same (.1)

                                                                    Total for Plan of Reorganization:        $ 105.00




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                                               TIMEKEEPER SUMMARY
                                                Plan of Reorganization

Attorney:                                                                Hours:            Amount:        Rate:



Giobbe, Cynthia M.*,Paralegal                                                 0.30          $ 105.00    $ 350.00

                                 Total for Plan of Reorganization:            0.30          $ 105.00




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                                              ITEMIZED SERVICES BILL
                                                Post Petition Financing

  Date:      Description:                                        Attorney:                    Hours:     Amount:




05/23/2023   Review and supplement information requests          Ward, Matthew P.               0.30      $ 235.50
             regarding DIP order



05/25/2023   Review markups, comments, and proposals on          Ward, Matthew P.               0.40      $ 314.00
             same



05/26/2023   Review draft DIP issues list                        Ward, Matthew P.               0.20      $ 157.00



05/27/2023   Prepare for and participate in teleconference       Ward, Matthew P.               1.90    $ 1,491.50
             with debtors' and lenders' counsel and Porzio
             and Rock Creek teams regarding DIP, store
             closing, consignment, and other first day motions
             and issues (1.5); follow-up teleconference with
             debtors' counsel regarding same (.4)



05/27/2023   Call with Committee professionals regarding DIP     Patterson, Morgan L.           0.80      $ 524.00



05/28/2023   Teleconferences and correspondences with W.         Ward, Matthew P.               0.60      $ 471.00
             Martin regarding DIP negotiations (.5);
             teleconference with J. Gansman regarding same
             (.1)



05/29/2023   Teleconference with Porzio team regarding DIP,      Ward, Matthew P.               2.00    $ 1,570.00
             store closing, and consignment motions and
             strategy (.6); teleconference and
             correspondences with J. Gansman regarding
             same (.3); numerous teleconferences with M.
             Patterson regarding same (.5); review/analyze
             draft DIP objection (.6)



05/29/2023   Meeting with Committee professionals regarding      Patterson, Morgan L.           1.90    $ 1,244.50
             DIP objection (.8); review/revise DIP Objection
             (1.1)


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05/29/2023   Email (x4) to/from M. Patterson regarding DIP      Giobbe, Cynthia M.*               0.70      $ 245.00
             objection (.2); prepare certificate of service
             regarding same (.5)



05/30/2023   Attend depositions of Hilco and owner in           Ward, Matthew P.                  8.00    $ 6,280.00
             advance of DIP hearing (2.0); pre- and
             post-deposition meetings with lenders' counsel
             (1.5); meetings, teleconference, and numerous
             correspondences with Porzio team regarding
             same (2.5); numerous teleconferences and
             correspondences with J. Gansman regarding
             same (.9); teleconference and correspondences
             with M. Patterson regarding same (.5);
             review/analyze proposed final order (.4);
             teleconference with E. Meltzer regarding same
             (.2)



05/30/2023   Review/revise and file objection to DIP            Patterson, Morgan L.              1.20      $ 786.00



05/30/2023   Email (x5) to/from M. Patterson regarding DIP      Giobbe, Cynthia M.*               1.50      $ 525.00
             objection (.3); prepare exhibit regarding same
             (.2); revise certificate of service (.3); review
             motion/revise same (.5); efile same (.1);
             coordinate service of same (.1)



05/31/2023   Review and revise draft proposed final DIP order   Ward, Matthew P.                  0.70      $ 549.50
             (.4); numerous correspondences with Porzio
             team regarding same (.3)



06/01/2023   Review further revised proposed final DIP order    Ward, Matthew P.                  0.40      $ 314.00
             and comments (.2); numerous correspondences
             with Porzio team regarding same (.2)



06/02/2023   Address matters regarding DIP order and next       Ward, Matthew P.                  0.40      $ 314.00
             steps



06/02/2023   Review loan documentation provided by debtor       Tancredi, Lisa B.                 1.30      $ 773.50



06/02/2023   Emails to counsel for Eclipse & Pathlight          Tancredi, Lisa B.                 0.20      $ 119.00
             regarding loan documentation


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06/05/2023   Review finalized proposed DIP order and          Ward, Matthew P.                0.30      $ 235.50
             changes



06/05/2023   Multiple correspondence with Debtors' counsel    Patterson, Morgan L.            0.20      $ 131.00
             and lenders counsel regarding DIP order
             revisions



06/05/2023   Review loan documentation provided by debtor     Tancredi, Lisa B.               1.30      $ 773.50



06/05/2023   Emails to counsel for Eclipse & and Pathlight    Tancredi, Lisa B.               0.20      $ 119.00
             regarding loan documentation



06/06/2023   Email to counsel for Pathlight & Eclipse         Tancredi, Lisa B.               0.20      $ 119.00
             regarding loan document requests



06/08/2023   Multiple correspondence with co-counsel          Patterson, Morgan L.            0.20      $ 131.00
             regarding DIP budget



06/12/2023   Correspondence with Debtors' counsel             Patterson, Morgan L.            0.10       $ 65.50
             regarding lender fees



06/14/2023   Review and address lender fees                   Patterson, Morgan L.            0.40      $ 262.00



06/15/2023   Review/address lender invoices                   Patterson, Morgan L.            0.70      $ 458.50



06/16/2023   Address lender fee objection                     Patterson, Morgan L.            0.30      $ 196.50



06/19/2023   Multiple correspondence with Porzio and          Patterson, Morgan L.            0.50      $ 327.50
             Lenders' counsel regarding DIP fees



06/22/2023   Review multiple default letters (.2);            Ward, Matthew P.                1.40    $ 1,099.00
             teleconference with Ropes team (.4); lengthy
             video meeting with S. Fox and Porzio team
             regarding Pathlight claims (.8)




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06/23/2023   Review DIP order regarding default                   Patterson, Morgan L.           0.50      $ 327.50



06/25/2023   Multiple correspondence with Committee               Patterson, Morgan L.           1.10      $ 720.50
             professionals regarding DIP defaults (.3);
             conference call with Debtors, Lenders, SSG and
             Committee professionals regarding same (.8)



06/26/2023   Review draft supplemental DIP order and              Ward, Matthew P.               1.30    $ 1,020.50
             multiple parties' comments to same (.4);
             teleconference with J. Gansman (.2); numerous
             correspondences with Porzio team regarding
             same (.4); prepare for hearing on same (.3)



06/26/2023   Review Debtors' supplemental DIP motion, and         Patterson, Morgan L.           5.70    $ 3,733.50
             motion to shorten (.8); prepare response to same
             (3.1); Review previous DIP order and revise
             supplemental proposed DIP order (1.8)



06/27/2023   Video meeting with Galardi and Greenberg team        Ward, Matthew P.               2.40    $ 1,884.00
             regarding DIP negotiations (.7); follow-up video
             meeting and correspondences with Porzio team
             regarding same (1.2); review debtor comments
             on draft supplemental order (.1); teleconference
             and correspondences with M. Patterson
             regarding DIP objection and strategy (.4)



06/27/2023   Prepare response to supplemental DIP Motion          Patterson, Morgan L.           7.10    $ 4,650.50
             (5.8); call with Jim Gansman regarding same
             (.2); call with Committee counsel regarding
             hearing preparation and negotiations related to
             supplemental DIP order (1.1)



06/28/2023   Review revised drafts of proposed supplemental       Ward, Matthew P.               1.60    $ 1,256.00
             DIP order (.3); numerous correspondences with
             W. Martin and Porzio team regarding DIP
             negotiations and comments on settlement
             proposal (.4); teleconference with J. Gansman
             regarding same (.2); revise draft objection to
             supplemental DIP order and review Porzio
             comments to same (.4); teleconference and
             correspondences with M. Patterson regarding
             same (.3)



06/28/2023   Revise/file supplemental DIP objection (3.4); call   Patterson, Morgan L.           7.90    $ 5,174.50

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             with Porzio team regarding same (.2); call with
             creditor regarding supplemental DIP (.5); calls
             with Matthew Ward and Porzio team regarding
             same (.6); call with lenders and Debtors' counsel
             regarding DIP order (.8); revise supplemental
             DIP order (1.1); calls with Committee
             professionals regarding same (1.3)



06/29/2023   Review multiple revised versions of draft           Ward, Matthew P.                  2.60    $ 2,041.00
             supplemental DIP order (.3); video meeting and
             correspondences with G. Galardi / lenders
             counsel regarding same (.8); numerous pre- and
             post-meeting calls and correspondences with
             Porzio team regarding same (1.4); review
             Pathlight counterproposal (.1)



06/29/2023   Review revised supplemental DIP order versions      Patterson, Morgan L.              3.10    $ 2,030.50
             (.7); calls (x3) with Committee professionals and
             Committee members regarding same (1.7); call
             with Matthew Ward regarding interim order (.4);
             multiple correspondence with Committee
             professionals regarding same (.3)



06/30/2023   Teleconference with M. Patterson regarding          Ward, Matthew P.                  0.10       $ 78.50
             status

                                                                   Total for Post Petition Financing:     $ 42,748.50




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                                               TIMEKEEPER SUMMARY
                                               Post Petition Financing

Attorney:                                                                Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                     24.60       $ 19,311.00    $ 785.00

Patterson, Morgan L.,Partner                                                 31.70       $ 20,763.50    $ 655.00

Tancredi, Lisa B.,Of Counsel                                                  3.20        $ 1,904.00    $ 595.00

Giobbe, Cynthia M.*,Paralegal                                                 2.20          $ 770.00    $ 350.00

                                Total for Post Petition Financing:           61.70       $ 42,748.50




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                                              ITEMIZED SERVICES BILL
                                               Reports and Schedules

  Date:      Description:                                       Attorney:                       Hours:     Amount:




05/30/2023   Emails regarding debtors schedules and SOFAs       Thomas, Elizabeth C.*             0.10       $ 35.00



06/01/2023   Work with Elazar Kosman regarding schedules        Patterson, Morgan L.              0.20      $ 131.00
             review (.1); correspondence with Committee
             member regarding same (.1)



06/01/2023   Email with working group regarding Debtors'        Thomas, Elizabeth C.*             0.10       $ 35.00
             schedules and SOFAs



06/02/2023   Correspondence with Rock Creek team                Patterson, Morgan L.              0.10       $ 65.50
             regarding schedules review



06/02/2023   Email (x2) to/from M. Patterson regarding 6/6/23   Giobbe, Cynthia M.*               0.60      $ 210.00
             341 meeting (.2); retrieve and review schedules
             and statements (.4)



06/06/2023   Review schedules/statements regarding claims       Kosman, Elazar A.                 1.30      $ 442.00
             for unsecured creditors



06/07/2023   Review/revise/circulate summary of Committee       Patterson, Morgan L.              0.40      $ 262.00
             scheduled claims .4; call with counsel to
             unsecured creditor regarding schedules and 341
             meeting



06/08/2023   Review summary of schedules from Rock Creek        Patterson, Morgan L.              0.40      $ 262.00



06/30/2023   Review/analyze schedules and SOFAs and             Ward, Matthew P.                  0.50      $ 392.50
             summary

                                                                  Total for Reports and Schedules:        $ 1,835.00




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                                                 TIMEKEEPER SUMMARY
                                                  Reports and Schedules

Attorney:                                                                  Hours:              Amount:        Rate:



Ward, Matthew P.,Partner                                                        0.50            $ 392.50    $ 785.00

Patterson, Morgan L.,Partner                                                    1.10            $ 720.50    $ 655.00

Kosman, Elazar A.,Associate                                                     1.30            $ 442.00    $ 340.00

Thomas, Elizabeth C.*,Paralegal                                                 0.20             $ 70.00    $ 350.00

Giobbe, Cynthia M.*,Paralegal                                                   0.60            $ 210.00    $ 350.00

                                  Total for Reports and Schedules:              3.70          $ 1,835.00



                                                 ITEMIZED SERVICES BILL
                                                  Retention of Applicant

   Date:       Description:                                      Attorney:                      Hours:     Amount:




 05/22/2023    Conference call with Porzio and Womble teams      Johnson, Ericka F.                0.50     $ 357.50
               to allocate case assignments/strategy



 05/23/2023    Address research in connection with client        Johnson, Ericka F.                0.40     $ 286.00
               connections (.3); email Rock Creek regarding
               same (.1)



 05/24/2023    Address client connection research questions      Johnson, Ericka F.                0.20     $ 143.00
               from general counsel's office



 05/25/2023    Address multiple emails regarding client          Johnson, Ericka F.                0.30     $ 214.50
               connection research



 05/30/2023    Draft WBD retention application                   Thomas, Elizabeth C.*             1.10     $ 385.00



 05/31/2023    Emails with Ericka Johnson regarding retention    Thomas, Elizabeth C.*             0.40     $ 140.00
               app (.1); continue working on WBD retention app
               (.3)

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06/02/2023   Research client connections for retention              Johnson, Ericka F.               1.20      $ 858.00
             application



06/05/2023   Review and revise draft Womble retention               Ward, Matthew P.                 0.40      $ 314.00
             application and Ward affidavit



06/05/2023   Review/revise Womble retention application (8);        Johnson, Ericka F.               6.60    $ 4,719.00
             analyze and compile client connection
             disclosures for retention application (5.6); revise
             Womble retention application (.2)



06/05/2023   Draft notice of WBD retention application              Thomas, Elizabeth C.*            0.20       $ 70.00



06/08/2023   Emails regarding committee professionals'              Thomas, Elizabeth C.*            0.10       $ 35.00
             retention applications



06/09/2023   Address completion of additional client                Johnson, Ericka F.               0.50      $ 357.50
             connection research (.1); multiple revisions to
             Womble retention application to include
             supplemental disclosures (.3); email M. Ward
             regarding same (.1)



06/09/2023   Assemble draft of WBD retention application            Thomas, Elizabeth C.*            0.10       $ 35.00



06/12/2023   Review and finalize Womble retention                   Johnson, Ericka F.               0.30      $ 214.50
             application for filing



06/12/2023   Emails with Ericka Johnson regarding retention         Thomas, Elizabeth C.*            0.70      $ 245.00
             application (.1); finalize WBD retention
             application (.3); efile and serve WBD retention
             application (.3)



06/13/2023   Prepare and efile certificate of service regarding     Thomas, Elizabeth C.*            0.10       $ 35.00
             retention applications



06/22/2023   Review UST comments to Womble retention                Johnson, Ericka F.               0.30      $ 214.50
             application (.1); review filed retention application
             and email M. Ward regarding same (.1); email

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             accounting/finance regarding connections
             disclosures (.1)



06/27/2023   Address UST questions regarding WBD                 Patterson, Morgan L.              0.80      $ 524.00
             retention (.3); draft COC and order regarding
             same (.3); multiple correspondence with UST
             regarding same (.2)



06/27/2023   Emails with Ericka Johnson regarding                Thomas, Elizabeth C.*             0.10       $ 35.00
             Committee retention applications



06/28/2023   Finalize COC regarding WBD retention                Thomas, Elizabeth C.*             0.20       $ 70.00
             application (.1); efile same and upload order for
             approval (.1)

                                                                    Total for Retention of Applicant:      $ 9,252.50




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                                               TIMEKEEPER SUMMARY
                                                Retention of Applicant

Attorney:                                                                Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                      0.40          $ 314.00    $ 785.00

Johnson, Ericka F.,Partner                                                   10.30        $ 7,364.50    $ 715.00

Patterson, Morgan L.,Partner                                                  0.80          $ 524.00    $ 655.00

Thomas, Elizabeth C.*,Paralegal                                               3.00        $ 1,050.00    $ 350.00

                                  Total for Retention of Applicant:          14.50        $ 9,252.50




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                                               ITEMIZED SERVICES BILL
                                                   Retention of Others

  Date:      Description:                                       Attorney:                      Hours:     Amount:




05/22/2023   Communications with BDO regarding financial        Johnson, Ericka F.               0.10       $ 71.50
             advisor pitch



05/23/2023   Financial advisor interviews and deliberations     Ward, Matthew P.                 3.60    $ 2,826.00
             (2.6); teleconferences and correspondences with
             Rock Creek (.7); teleconference with W. Martin
             (.3)



05/27/2023   Teleconferences with J. Gansman regarding          Ward, Matthew P.                 0.70      $ 549.50
             SSG retention and case matters



05/30/2023   Teleconferences with SSG team regarding            Ward, Matthew P.                 0.40      $ 314.00
             retention terms



06/02/2023   Teleconference with Porzio team regarding          Ward, Matthew P.                 0.50      $ 392.50
             debtors' retention applications, committee
             retention applications, and outstanding motions
             and strategy



06/02/2023   Discuss deadline to file retention applications    Johnson, Ericka F.               0.10       $ 71.50
             with L. Tancredi



06/02/2023   Draft Rock Creek retention application             Thomas, Elizabeth C.*            0.40      $ 140.00



06/05/2023   Review/revise Rock Creek retention application     Johnson, Ericka F.               1.30      $ 929.50
             (1.1); email same to B. Ayers for approval (.1);
             email CTS Porzio team regarding filing of
             retention applications (.1)



06/05/2023   Draft notice of Rock Creek retention application   Thomas, Elizabeth C.*            0.10       $ 35.00




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06/07/2023   Review and summarize Debtors' retention                 Patterson, Morgan L.              1.80    $ 1,179.00
             applications for potential objection



06/07/2023   Email to/from M. Patterson regarding retention          Giobbe, Cynthia M.*               0.20       $ 70.00
             applications (.1); retrieve same (.1)



06/08/2023   Revise and circulate to co-counsel and                  Patterson, Morgan L.              0.90      $ 589.50
             Committee summaries/recommendations
             regarding Debtor retentions (.6); multiple
             correspondence with Debtors' counsel regarding
             follow up questions regarding same (.3)



06/09/2023   Review debtors' retention applications and              Ward, Matthew P.                  0.50      $ 392.50
             analysis



06/09/2023   Review and respond to email from Porzio                 Johnson, Ericka F.                0.80      $ 572.00
             regarding Porzio retention application (.1);
             multiple revisions to Rock Creek retention
             application (.5) and email same to B. Ayers for
             approval (.1); draft and send email to Committee
             regarding review and approval of the retention
             applications (.1)



06/09/2023   Correspondence with Debtors' counsel                    Patterson, Morgan L.              0.10       $ 65.50
             regarding Debtors' retention application



06/09/2023   Assemble draft of Rock Creek retention                  Thomas, Elizabeth C.*             0.10       $ 35.00
             application



06/12/2023   Respond to email from committee chair                   Johnson, Ericka F.                0.70      $ 500.50
             regarding retention applications (.1); email
             Porzio regarding same (.1); review order setting
             omnibus hearing dates for hearing location for
             retention applications and email Porzio regarding
             same (.1); review and finalize Rock Creek
             retention application for filing (.2); review and
             finalize Porzio retention application for filing (.2)



06/12/2023   Emails with Ericka Johnson regarding retention          Thomas, Elizabeth C.*             0.80      $ 280.00
             applications (.2); finalize Rock Creek retention
             application (.2); finalize Porzio retention
             application (.1); efile and serve Porzio and Rock
             Creek retention applications (.3)
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  Christmas Tree Shops




06/22/2023   Review and address UST comments on                    Ward, Matthew P.                  0.30      $ 235.50
             retention applications (.2); teleconference with B.
             Hackman regarding same and regarding case
             status (.1)



06/22/2023   Review UST comments to retention applications         Johnson, Ericka F.                0.10       $ 71.50
             and email Rock Creek regarding same



06/26/2023   Correspondence with Committee professionals           Patterson, Morgan L.              0.30      $ 196.50
             regarding status of UST comments to Committee
             professionals retentions



06/27/2023   Respond to email from L. Thomas regarding             Johnson, Ericka F.                0.10       $ 71.50
             status of retention applications



06/27/2023   Emails with Morgan Patterson regarding Porzio         Thomas, Elizabeth C.*             0.30      $ 105.00
             retention application (.1); finalize and efile COC
             regarding revised order on Porzio retention
             application and upload order for approval (.2)



06/28/2023   Draft COC and revised order for Rock Creek            Patterson, Morgan L.              0.40      $ 262.00
             retention and file



06/28/2023   Finalize COC regarding Rock Creek retention           Thomas, Elizabeth C.*             0.30      $ 105.00
             application (.2); efile same and upload order for
             approval (.1)



06/29/2023   Review SSG retention and                              Patterson, Morgan L.              0.60      $ 393.00
             summarize/recommend actions to Committee

                                                                         Total for Retention of Others:     $ 10,453.50




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                                               TIMEKEEPER SUMMARY
                                                 Retention of Others

Attorney:                                                              Hours:            Amount:        Rate:



Ward, Matthew P.,Partner                                                    6.00        $ 4,710.00    $ 785.00

Johnson, Ericka F.,Partner                                                  3.20        $ 2,288.00    $ 715.00

Patterson, Morgan L.,Partner                                                4.10        $ 2,685.50    $ 655.00

Thomas, Elizabeth C.*,Paralegal                                             2.00          $ 700.00    $ 350.00

Giobbe, Cynthia M.*,Paralegal                                               0.20           $ 70.00    $ 350.00

                                    Total for Retention of Others:         15.50       $ 10,453.50




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     *   If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




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                                                  TIMEKEEPER SUMMARY


Attorney:                                                                       Hours:              Amount:               Rate:

Ward, Matthew P.                                                                  63.70          $ 50,004.50           $ 785.00

Johnson, Ericka F.                                                                14.80          $ 10,582.00           $ 715.00

Patterson, Morgan L.                                                            142.20           $ 93,141.00           $ 655.00

Tancredi, Lisa B.                                                                 78.40          $ 46,648.00           $ 595.00

Kosman, Elazar A.                                                                  1.30             $ 442.00           $ 340.00

Thomas, Elizabeth C.*                                                             20.90           $ 7,315.00           $ 350.00

Giobbe, Cynthia M.*                                                               33.80          $ 11,830.00           $ 350.00

                                                              Totals:           355.10          $ 219,962.50


             * If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.



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